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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CHRISTOPHER JEROME, an individual,
LEO JEROME, an individual, and
STORY COMPANIES, LLC,
a Michigan limited liability company,


                  Plaintiffs,

v.                                             Case No.: 1:16-cv-01116
                                               Hon. Janet T. Neff


JOEL FERGUSON, an individual,
VIRGIL BERNERO,
the Mayor of the City of Lansing, in his individual capacity,
LANSING ECONOMIC AREA PARTNERSHIP, INC.,
a Michigan non-profit corporation,
ROBERT L. TREZISE, JR., an individual,
CLARK CONSTRUCTION SERVICES, LLC,
A Michigan limited liability company,
CHARLES CLARK, an individual,
FRANK KASS, an individual,
CONTINENTAL DEVELOPMENT, INC., an Ohio corporation,
HALLMARK CAMPUS COMMUNITIES,
an Ohio partnership,
FERGUSON DEVELOPMENT, LLC,
A Michigan limited liability company,
CHRISTOPHER STRALKOWSKI, an individual,
FERGUSON/CONTINENTAL LANSING, LLC,
A Delaware limited liability company, and
RED CEDAR INVESTOR, LLC, a Michigan limited liability company,

                  Defendants.


               NOTICE OF WITHDRAWAL OF APPEARANCE
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      PLEASE TAKE NOTICE, that Brett A. Asher, formerly of The Mike Cox Law

Firm, PLLC, 17430 Laurel Park Drive North, Suite 120 E, Livonia, MI 48152, is no

longer associated with The Mike Cox Law Firm, PLLC, and The Mike Cox Law Firm,

PLLC, through the undersigned, hereby requests that the Court withdraw Brett A. Asher

as counsel of record for Christopher Jerome, Leo Jerome, and Story Companies, LLC.

All other counsel of record will remain the same.


                                         Respectfully submitted,

                                         THE MIKE COX LAW FIRM, PLLC

September 5, 2017                         /s/ Michael A. Cox
                                         Michael A. Cox (P43039)
                                         Attorney for Plaintiffs
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                              CERTIFICATE OF SERVICE


       I hereby certify that on September 5, 2017, I electronically filed the foregoing with

the Clerk of the Court, using the CM/ECF filing system, which will send notification of

such filing to all counsel of record.


                                          /s/ Michael A. Cox
                                          Michael A. Cox (P43039)
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